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                              IN THE UNITED STATES DISTRICT COURT

                                         DISTRICT OF NEW MEXICO


JAVIER RODRIGUEZ,

           Plaintiff,

vs.                                                                Civil No. 1:16-cv-00489


LAS CRUCES MEDICAL CENTER, LLC.,
D/B/A MOUNTAIN VIEW REGIONAL
MEDICAL CENTER, AFFILION, LLC.,
BRUCE GLEASON, M.D., PHC LAS CRUCES, INC.
D/B/A MEMORIAL MEDICAL CENTER, LAS
CRUCES EMERGENCY MEDICAL ASSOCIATES, INC,
ANDREW PEARSON, M.D., BEN ARCHER HEALTH
CENTER, INC. AND JIE LUO, M.D.1

           Defendants.

                                    NOTICE OF REMOVAL OF ACTION

           The United States of America, acting on behalf of Ben Archer Health Center, Inc., and

Dr. Jie Luo, named defendants in the above- captioned action, hereby gives notice to this Court

of the removal of a civil action commenced in the Third Judicial District Court, County of Dona

Ana, State of New Mexico, Cause No. D-307-CV-2015-02506. This removal is pursuant to 28

U.S.C. § 2679 (d)(2) which provides that upon certification by the United States Attorney

General that the defendant employee was acting within the scope of his/her employment, a civil

action proceeding in state court upon such claim shall be removed to the District Court of the

United States embracing the place in which the action or proceeding is pending. The United

States submits the following:




1
    Dr. Jie Luo was incorrectly identified in the state court complaint as “Jiu Luo”.
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       1. A civil action has been brought in the Third Judicial District Court, State of New

Mexico, against numerous defendants, including Ben Archer Health Center, Inc. and Jie Luo for

alleged failure to properly diagnose and treat stroke, which allegedly caused Plaintiff damages

(“Complaint”).

       2. Defendant Ben Archer Health Center, Inc. is a grantee of the Department of Health

and Human Services, which is operated by the United States of America. By operation of the

Federally Supported Health Centers Assistance Act (“FSHCAA”) (42 U.S.C. § 233(g)-(n)), said

Defendant is covered under the Federal Tort Claims Act (“FTCA”), 28 U.S.C. §§ 1346(b),

2401(b), 2671-80.

       3. Filed with this Notice of Removal is Exhibit 1, a Certification by Damon P. Martinez,

United States Attorney for the District of New Mexico, certifying that Defendant Jie Luo, M.D.

was acting within the scope of his employment at the time of the allegations and/or incidents

giving rise to this suit. The authority to certify scope of office or employment has been delegated

to the United States attorney. See 28 C.F.R. § 15.4.

       4. In accordance with 28 U.S.C. § 2679(d)(2), upon certification that the defendant was

acting within the scope of his employment with the Government, the action commenced in New

Mexico State Court shall be removed to the District Court for the District of New Mexico and

such action or proceeding shall be deemed to be an action or proceeding brought against the

United States.

       5. The Third Judicial District Court action is properly subject to removal under 28

U.S.C. §§ 1441 (a), 1442(a)(1) and 2679(d)(2). Plaintiff asserts in his Complaint for Medical

Malpractice that at all times material to the allegations, the alleged actions by Jie Luo, M.D. were



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taken while he was deemed as an employee of the United States Department of Health and

Human Services. Plaintiff’s allegations appear to be controlled by the provisions of the Federal

Tort Claims Act, 28 U.S.C. §§ 1346(b) and 2671 et seq., and this is, therefore, an action over

which the United States District Court has exclusive jurisdiction.

       6. Attached to this Notice of Removal as Exhibit 2 are copies of all pleadings that have

been received by and are in the possession of the United States in this action.

       WHEREFORE, the United States gives notice that Cause No. D-307-CV 2015-02506 in

the Third Judicial District Court for the County of Dona Ana, State of New Mexico, is removed

to this Court.

                                              Respectfully submitted,

                                              DAMON P. MARTINEZ
                                              United States Attorney

                                              Electronically filed May 26, 2016
                                              ERIN E. LANGENWALTER
                                              Assistant United States Attorney
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                                              erin.langenwalter@usdoj.gov




                                CERTIFICATE OF SERVICE

     I CERTIFY that on May 26, 2016, I served the foregoing pleading on the following non-
CM/ECF Participants via first class mail, postage prepaid, addressed to:

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955 East Boutz Road
Las Cruces, NM 88011
Attorney for Plaintiff
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                                          /s/ Erin E. Langenwalter
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                                          Assistant United States Attorney




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